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 8                                 UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                    No. 2:06-cr-00476-MCE-3
12                    Plaintiff,
13         v.                                     MEMORANDUM AND ORDER
14   ANDREW CONWAY,
15                    Defendant.
16
17         On August 20, 2009, the Court sentenced Defendant Andrew Conway

18   (“Defendant”) to a term of 144 months imprisonment after he pled guilty to conspiracy to

19   distribute at least 50 grams of cocaine base in violation of 21 U.S.C. §§ 846, 841(a)(1).

20   ECF Nos. 116, 117. At the time of sentencing, Defendant had two prior felony

21   convictions for controlled substances. As a result, Defendant was sentenced as a career

22   offender within the meaning of U.S.S.G. 4B1.1.

23         On October 18, 2011, Defendant, proceeding pro se, filed a motion to appoint

24   new counsel, vacate his sentence, and resentence him consistent with Sentencing

25   Guidelines Amendment 750. Mot., ECF No. 120. Amendment 750 retroactively

26   modified the penalties for crack cocaine offenses under the United States Sentencing

27   Guidelines drug quantity table. Light v. Copenhaver, 1:12-CV-00967-DLB HC, 2012 WL

28   2521739 at *1 (E.D. Cal. June 28, 2012).
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 1         On October 25, 2011, pursuant to U.S.C. § 3582(c)(2), the Court referred
 2   Defendant’s motion to the Office of the Federal Defender. ECF No. 121. On April 9,
 3   2014, Assistant Federal Defender David Porter filed a response in which he stated that
 4   based on his examination of Defendant’s motion, the pertinent filings in this case, and
 5   Defendant’s status as a career offender, appointment of counsel was not recommended.
 6   ECF No. 122.
 7         Because Defendant was sentenced as a career offender, a reduction is not
 8   authorized under Amendment 750 or 18 U.S.C. § 3582(c). See Light, 1:12-CV-00967-
 9   DLB HC, 2012 WL 2521739 at *2; see United States v. Wesson, 583 F.3d 728, 731–32
10   (9th Cir. 2009) (no discretion to reduce sentence of “career offender” because his
11   guideline range and sentence are not affected by crack amendments). Defendant’s
12   Motion to Vacate, ECF No. 120, is DENIED. The Clerk of the Court is directed to mail a
13   copy of this Order to Andrew Conway, Register Number: 17276-097, at the following
14   addresses: Lompoc USP, U.S. Penitentiary, 3901 Klein Blvd, Lompoc, CA 93436 and
15   Federal Correctional Center, Lompoc, 3600 Guard Road, Lompoc, CA 93436.
16         IT IS SO ORDERED.
17   Dated: April 28, 2014
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